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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE

MICHAEL MELENDEZ,
         Plaintiff (Pro Se),
                                                     Case Number: 23-cv-172-SM
v.

UNIVERSITY OF NEW HAMPSHIRE, in
its official and individual capacity, LAUREN
BERGER, in her official and individual
capacity, SHANE COOPER, in his official
and individual capacity, and NELSON
RAUST, in his official and individual
capacity,
                Defendants.

          DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
                       PARTIAL MOTION TO DISMISS

       Pro se plaintiff Michael Melendez—a law student at the University of New Hampshire—

brings this action against the University and several individual administrators and faculty, arising

out of his alleged failure to obtain a desired accommodation for a disability and his

dissatisfaction with his academic performance. The University of New Hampshire (“UNH” or

“University”) and Individual Defendants Lauren Berger, Shane Cooper, and Nelson Raust

(together, “Defendants”) hereby bring this Partial Motion to Dismiss Plaintiff’s claims. First,

Plaintiff’s discrimination claims against the Individual Defendants should be dismissed where

the overwhelming weight of authority provides that neither the Americans with Disabilities Act

(“ADA”) nor the Rehabilitation Act permit individual liability. Second, Plaintiff’s

corresponding claims under 42 U.S.C. § 1983 (“Section 1983”) should be dismissed as to all

Defendants where such claims are wholly derivative of his ADA and Rehabilitation Act claims.
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      I.      FACTUAL ALLEGATIONS

           Plaintiff Michael Melendez enrolled as a law student at the University of New Hampshire

Franklin Pierce School of Law (“UNH” or the “University”) in or around August 2020. 1 Dkt. 1

(Compl.) ¶ 8. As best as can be determined, Plaintiff Melendez alleges that, at some point during

his career as a UNH student, he required accommodation for a disability and that Defendant

Lauren Berger, Assistant Dean of Students for the University, failed to provide certain

accommodations and/or to address his alleged lack of an “effective academic advisor.” Compl.

¶¶ 6-7, 14, 19. Plaintiff claims that Dean Berger’s direct supervisor, Defendant Associate Dean

Shane Cooper, “knew or should have known” of this failure to accommodate and did not take

corrective action. Compl. ¶¶ 15-16, 22.

           At some point between September 2022 and January 2023, Plaintiff alleges that he filed a

complaint with the UNH Civil Rights and Equity Office (“CREO”) regarding his

accommodation concerns. Compl. ¶ 21. Plaintiff claims that Dean Berger thereafter retaliated

against him including by “fail[ing] to perform any duty and responsibility owed to Plaintiff.” Id.

           On or about October 5, 2022, during a Wills, Trusts, & Estates course, Plaintiff claims

that Defendant Professor Nelson Raust referred to a classmate as Plaintiff’s “guest”—which

Plaintiff alleges was intended to embarrass him for requiring a classmate’s assistance—and

“taunted” Plaintiff by saying goodbye to him as he left the lecture. Compl. ¶ 23. Plaintiff claims

that at some point, he filed a CREO Complaint alleging harassment against Professor Raust and

that Professor Raust thereafter discriminated or retaliated against him by giving him a failing

grade. Compl. ¶ 24.




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    Plaintiff’s allegations are taken as true for purposes of this Partial Motion to Dismiss only.
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           On March 3, 2023, Plaintiff filed the above-captioned action against UNH and the

Individual Defendants, asserting claims under the Americans with Disabilities Act (“ADA”), the

Rehabilitation Act, and 42 U.S.C. § 1983 (“Section 1983”).

    II.       STANDARD OF REVIEW

           To survive a Rule 12(b)(6) motion, Plaintiff must plead facts sufficient “to state a claim

to relief that is plausible on its face.” Bell Atl. v. Twombly, 550 U.S. 544, 570 (2007). To do so,

the Complaint must allege enough facts to “raise a right to relief above the speculative level.” Id.

at 555. Although the Court accepts as true all well-pleaded facts and draws all reasonable

inferences in Plaintiff's favor, Parker v. Hurley, 514 F.3d 87, 90 (1st Cir.2008), the Court need

not credit “[t]hreadbare recitals of the elements of a cause of action, supported by merely

conclusory statements,” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at

555). “[W]here the well-pleaded facts do not permit the court to infer more than the mere

possibility of misconduct, the complaint alleged—but it has not show[n]—that the pleader is

entitled to relief.” Iqbal, 556 U.S. at 679 (internal citations omitted).

    III.      ARGUMENT

    A. All Discrimination Claims under the ADA and Rehabilitation Act against Individual
       Defendants Must Be Dismissed Where Neither Act Permits Personal Liability.

           Consistent with the majority of Circuit Courts to consider the issue, all discrimination

claims against the Individual Defendants should be dismissed because individuals may not be

held personally liable under either the ADA or the Rehabilitation Act. As best as can be

determined from the face of the Complaint, Plaintiff alleges that he was discriminated against in

violation of Title II of the ADA, 42 U.S.C. § 12132 (“Title II”), and Section 504 of the

Rehabilitation Act (“Section 504”). Both Acts “provide, in nearly identical language, that ‘no

qualified individual with a disability shall, by reason of such disability, be excluded from

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participation in or be denied the benefits of the services, programs, or activities of a public entity,

or be subjected to discrimination by any such entity.’” Nunes v. Mass. Dep't of Corr., 766 F.3d

136, 144 (1st Cir. 2014) (citing 42 U.S.C. § 12132; 29 U.S.C. § 794(a)). To state a plausible

claim under either statute, Plaintiff must allege: “(1) that he is a qualified individual with a

disability; (2) that he was either excluded from participation in or denied the benefits of some

public entity’s services, programs, or activities or was otherwise discriminated against; and (3)

that such exclusion, denial of benefits, or discrimination was by reason of the plaintiff's

disability.” Parker v. Universidad de P.R., 225 F.3d 1, 5 (1st Cir. 2000); Gray v. Hanks, No. 20-

CV-152-PB, 2021 WL 2593613, at *3 (D.N.H. June 8, 2021), report and recommendation

adopted sub nom. Gray v. NH Dep’t of Corr., No. 20-CV-152-PB, 2021 WL 2592171 (D.N.H.

June 23, 2021).

       Neither Act, however, provides a cause of action for discrimination against individuals in

their personal capacities. Rather, Title II prohibits discrimination by a “public entity,” defined as

any state or local government, department, agency, or other instrumentality, 42 U.S.C. §

12131(1), while Section 504 prohibits discrimination by a federally-funded “program or

activity,” whether public or private. See 29 U.S.C. § 794(b). Because an individual is neither a

“public entity” nor a “program or activity,” the District of New Hampshire has consistently held

that individuals may not be sued in their personal capacities under either statute. See, e.g., Gray,

2021 WL 2593613, at *4 (citing Alsbrook v. City of Maumelle, 184 F.3d 999, 1005 n.8 (8th Cir.

1999) (finding no individual liability under Title II)); Tveter v. Derry Cooperative School

District SAU #10, 16-cv-329-PB, 2018 WL 3520827, at *5 (D.N.H. July 20, 2018) (dismissing

Title II and Section 502 claims, holding that “neither the ADA nor the Rehabilitation Act permit

individual capacity actions”); Kiman v. N.H. Dept. of Corrections, 01-cv-134-JD, 2007 WL



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2247843, at *8 (D.N.H. Aug. 1, 2007) (joining five circuits to determine that the ADA does not

permit individual liability and reasoning that “public entity” under Title II plainly refers to

“collective units, not individuals”); Abbott v. Town of Salem, No. 05-CV-127-SM, 2006 WL

276704, *4 (D.N.H. Feb. 2, 2006) (dismissing as impermissible individual capacity claims under

Title II and Section 504).

        Numerous Circuit Courts to consider the issue agree that neither Title II nor Section 504

permit individuals to be sued in their personal capacities for alleged discrimination. See, e.g.,

Garcia v. State Univ. of N.Y. Health Scis. Ctr., 280 F.3d 98, 107 (2d Cir. 2001) (no individual

liability under Title II), Alsbrook, 184 F.3d at 1005 n. 8 (same). Although the First Circuit has

not ruled on this issue, it has joined other Circuits in the “virtually universal view” that Title I of

the ADA does not provide for individual liability. Roman–Oliveras v. P.R. Elec. Power Auth.,

655 F.3d 43, 52 (1st Cir. 2011).

    B. Plaintiff’s Constitutional Claim Must Be Dismissed Because He May Not Enforce
       Discrimination Claims under the ADA or Rehabilitation Act through Section 1983.

        Consistent with the majority of Circuits, the Court should further dismiss Plaintiff’s civil

rights claims against all Defendants because the ADA and Rehabilitation Acts bar derivative

claims under 42 U.S.C. § 1983 (“Section 1983”). See Gray, 2021 WL 2593613, at *4 (citing

Vinson v. Thomas, 288 F.3d 1145, 1156 (9th Cir. 2002)). Section 1983 “‘is not itself a source of

substantive rights,’ but merely provides ‘a method for vindicating federal rights elsewhere

conferred.’ Borras-Borrero v. Corporacion del Fondo del Seguro del Estado, 958 F.3d 26, 35

(1st Cir. 2020). However, not all federal statutory rights may be pursued through Section 1983,

including where “Congress has foreclosed such enforcement of the statute in the enactment

itself.” Wilder v. Virginia Hosp. Assoc., 496 U.S. 498, 508 (1990). Rather, where Congress has

instituted a “comprehensive remedial scheme for the enforcement of a statutory right,” there is a

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presumption that Congress--explicitly or implicitly--intended to foreclose resort to general

remedial schemes such as Section 1983. See, e.g., Vinson, 288 F.3d at 1155 (dismissing

individual capacity claim under Sec. 1983 premised on violation of Title II and Section 504).

       Consistent with that analysis, a majority of Circuit Courts to consider the issue has found

that both the ADA and Rehabilitation Act provide comprehensive remedial schemes barring

Section 1983 claims predicated on violations of those Acts. See e.g., Vinson, 288 F.3d at 1155;

Lollar v. Baker, 196 F.3d 603, 608-609 (5th Cir. 1999) (barring Section 1983 claim premised on

Rehabilitation Act violation); Alsbrook, 184 F.3d at 1010-1012 (barring Section 1983 claim

premised on Title II violation); Holbrook v. City of Alpharetta, Ga., 112 F.3d 1522 (11th Cir.

1997) (barring Section 1983 claim premised on Title II violation as “duplicative at best”). 2 In

conformity with these Circuit Court decisions, the District of New Hampshire has dismissed

Section 1983 claims premised upon alleged violations of Title II and Section 504. See, e.g.,

Gray, 2021 WL 2593613, at *4. As have other courts in this Circuit. See, e.g., Logie v. Mass.

Bay Transp. Auth., 323 F. Supp. 3d 164 (D. Mass. 2018) (report and recommendation); Millay v.

Surry Sch. Dep’t, No. 09-CV-411-B-W, 2009 WL 5184398, at *10 (D. Me. Dec. 22, 2009),

report and recommendation adopted, No. CV-09-411-B-W, 2010 WL 346718 (D. Me. Jan. 22,

2010). Allowing Plaintiff to merely restyle a complaint under Section 1983 would circumvent

the Acts’ remedial structure, including, their prohibition on individual liability. See e.g., Tri-

Corp Hous. Inc. v. Bauman, 826 F.3d 446, 449 (7th Cir. 2016) (holding that Section 1983 cannot

be used to alter categories of persons potentially liable in private actions under the ADA and

Rehabilitation Act); Vinson, 288 F.3d at 1155; Lollar, 196 F.3d at 608-09 (holding that plaintiff



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  See M.M.R.-Z. ex rel. Ramirez-Senda v. Puerto Rico, 528 F.3d 9, 13 n.3 (1st Cir. 2008)
(observing generally that “Section 1983 cannot be used as a vehicle for ADA or other statutory
claims that provide their own frameworks for damages.”).
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may not “use section 1983 as a vehicle to reach [defendant] individually” for Rehabilitation Act

violation); Alsbrook, 184 F.3d at 1012 (8th Cir. 1999) (prohibiting plaintiff from using Section

1983 to sue individuals and impermissibly “enlarge the relief available” under Title II).

        Here, the allegations underlying Plaintiff’s Section 1983 claims are entirely duplicative of

those supporting his claims under Title II and/or Section 504. Accordingly, consistent with

previous cases in this district and guiding Circuit decisions, this Court should dismiss Plaintiff’s

constitutional claim against all Defendants. 3

        Where all of the claims against the Individual Defendants in their “individual” capacities

must be dismissed for the foregoing reasons, the Court should dismiss them as defendants in

their entirety. Any remaining claims against them in their “official” capacity are redundant and

unnecessary where UNH is already a named defendant; official-capacity claims are tantamount

to a “suit against . . . [their] office,” i.e., to a suit against the University. Will v. Michigan Dep't

of State Police, 491 U.S. 58, 71, 109 S. Ct. 2304, 2312, 105 L. Ed. 2d 45 (1989) (official

capacity suits are tantamount to a “suit against [the official’s] office”). Accordingly, all claims

against the Individual Defendants should be dismissed. 4




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  The Court should further dismiss Plaintiff’s Section 1983 claim as to Individual Defendants for
the additional reason that they would likely be entitled to qualified immunity. See Eves v.
LePage, 927 F.3d 575, 582–89 (1st Cir. 2019) (qualified immunity is intended to “protect[] all
but the plainly incompetent or those who knowingly violate the law,” such that plaintiff must
demonstrate that “the law was ‘sufficiently clear [such] that every reasonable official would
understand that what he is doing is unlawful”).

4
 UNH—and Individual Defendants in their official capacities—further reserve all rights to raise
defenses based upon any entitlement to sovereign immunity in this matter.


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   IV.      CONCLUSION

         For the foregoing reasons, Defendants respectfully request that their Partial Motion to

Dismiss be granted and Plaintiff’s claims be dismissed with prejudice.



                                               Respectfully submitted,

                                               DEFENDANTS

                                               UNIVERSITY OF NEW HAMPSHIRE, LAUREN
                                               BERGER, SHANE COOPER, and NELSON
                                               RAUST,

                                               By Their Attorneys,

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Date: June 16, 2023
                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 16, 2023, this document filed through the ECF system will
be sent electronically to registered participants as identified on the Notice of Electronic Filing
(NEF) and, per written agreement of the Parties, copies shall be sent via email to Michael
Melendez at Michael.Melendez@law.unh.edu.

                                              /s/ Jeffrey T. Collins______________________
                                              Jeffrey T. Collins




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